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   September 2021

   The Highland Dallas Foundation
   Dallas, TX

   Since 2016 DCAC has enjoyed a partnership with Highland Dallas Foundation, a supporting organization
   of The Dallas Foundation, to meet the needs of our clients - the victims of criminal child abuse in Dallas
   County. Your support has meant a great deal to us. During this time, we have been honored to receive
   multiple grants making it possible for us to provide hope and healing to thousands of children each year.
   As referenced in the attached update, the COVID-19 pandemic has impacted our clients more than most,
   making the need for general operating dollars more critical than ever. It was through supporters like
   Highland Dallas Foundation that our doors remained open and we were able to serve the most children
   in one year we have ever seen. Considering your own financial hardships recently, we are extremely
   grateful that you were able to continue your support of DCAC last year when learning of the strains being
   put on our organization due to COVID-19.

   As we prepare for the onset of our fiscal year 2022 on October 1st, we are projecting to serve nearly
   8,400 children next year and have subsequently increased our FY22 budget by $800,000 to prepare for
   this influx. This budget increase reflects DCAC's commitment to recruiting and retaining top talent, as
   well as providing resources and support for staff as child abuse cases continue to increase. Due to the
   steady increase in client traffic in the building, we are adding five new positions that will allow for the
   agency to focus more on children’s programming, data integrity, increased services for child sex
   trafficking victims, and additional demand in daily operations due in part to COVID requirements.

   Additionally, just as we are preparing to be inundated with new cases, one of DCAC’s largest public
   funding sources will be decreasing it’s support by 8%. The Victims of Crimes Act (VOCA) typically provides
   DCAC with $3.2M annually but has decreased our funding for 2022 by $268,000. This is in addition to
   the many unknowns surrounding events-based fundraising, as referenced in the attached update.

   At this time DCAC respectfully requests a grant in the amount of $1,000,000 from The Highland Dallas
   Foundation to support our life saving work in fiscal year 2022. A commitment of this magnitude will
   fulfill expected funding gaps while supporting the budget increases to satisfy transformative services
   related to the influx of child abuse victims we are seeing. The longevity of our partnership and your
   steadfast support during hours of need have shown us your dedication to DCAC and the young victims
   we serve. An early response to this request would allow us to execute budget plans immediately for
   FY22. Your consideration of this request is greatly appreciated.

   With great respect,




   Irish S. Burch
   President and CEO
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            Organization Update & Supplemental Materials
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Dallas Children’s Advocacy Center (DCAC)
Update to Highland Dallas Foundation as of September 2021

As you can imagine, this past year working through a pandemic was supremely difficult on our DCAC
employees and our 39 partners including 27 law enforcement agencies in Dallas County, Children’s Health,
the Dallas County District Attorney’s Office, the Dallas County Southwestern Institute for Forensic
Services, the Texas Department of Family and Protective Services (Child Protective Services, Child Care
Licensing, Adult Protective Services), and the University of Texas Southwestern Medical Center at Dallas
Department of Pediatrics. However, the largest impact by far was on our clients – the victims of criminal
child abuse. When we were told to spend more time at home, victims of criminal child abuse were stuck
at home with their abuser.

During a typical year, DCAC’s Partner Relations Team reads over 28,000 reports of child abuse made in
Dallas County. We coordinate the most severe cases of child abuse that rise to the criminal level, and to
do so we must read each case of abuse reported and identify which come to DCAC where we facilitate a
coordinated approach to child abuse cases that results in more successful investigation and prosecution
outcomes and provides a less traumatic response to child victims and families. The overwhelming majority
of our cases are sexual in nature and the alleged perpetrator is almost always someone the victim knows
and trusts. DCAC serves clients from every zip code in Dallas County and, despite the pandemic, served
over 8,000 children and their non-offending family members this year. The most we have seen come
through our doors in one year.

On average we see a 5% increase in the number of clients served each year, which means we project to
coordinate the investigation, prosecution, and healing services for over 8,400 children and non-offending
family members this year. What we are experiencing is a steady increase each month that holds the power
to overwhelm our staff if we do not maintain our existing infrastructure, making operating dollars more
essential than ever. Operating dollars are more than lights on and doors open; as we have walked through
the pandemic over the past year, operating dollars have come to represent an insurance policy to clients, that
our services will remain available and accessible at no cost to clients, no matter what. Operating dollars
allowed us to nimbly shift service delivery to a completely new platform as well as enhance all sanitation
and security measures at the Center, ensuring safety for those staff who remained on the frontlines at the
height of the pandemic. Overnight we transitioned to delivery of evidence-based therapy services and family
advocacy support via a HIPPA approved telehealth platform, Doxy.me. We never stopped conducting forensic
interviews on site for emergency cases. In fact, the Dallas County DA’s office implemented a best-practice
policy requiring all children 17 and under to have a forensic interview conducted at DCAC for a case to be
accepted and filed in their office. This includes all criminal child abuse not involving CPS, high-risk youth,
and child sex trafficking victims. As a result, DCAC has seen a 22% increase in after-hours forensic
interviews. We have always done forensic interviews for these cases for other jurisdictions in Dallas
County, but not for DPD. We are excited to coordinate these cases now to ensure best practices are
followed and more children are served.

When forensic interviews go up, therapy services go up as well. Internally, to address ways to enhance
the experience for an increase in client volume, the therapy team created a Goals/Productivity Task Force
to identify areas of growth. The greatest opportunity for growth is reducing the amount of time clients
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spend on the waitlist to receive therapy services. During the past year, we were able to move
approximately 83% of clients off the wait list after two months.

In addition to serving over 8,400 clients, DCAC has identified the following organizational goals for fiscal
year 2022 to best meet the needs of our growing client base.
    • Conduct more than 2,400 forensic interviews; 95% of children will create an abuse-specific safety
         plan in the interview as well as be screened for domestic violence in the home.
    • Provide case management services—including both case navigation services and victim’s rights
         information—to more than 7,400 children and their non-offending family members who make a
         positive outcry of abuse.
    • Provide over 2,600 clients with evidence-based clinical services, including TF-CBT, PCIT, PSB-CBT
         and EMDR with fidelity.

DCAC receives financial support from both public and private sources and is a proud United Way Service
Provider. We will continue reaching out to existing partners and cultivating new friends to satisfy our
annual budget, but to understand where we are today is to see where we started. We began fiscal year
2020 with a budget of nearly $12 million, of which $5 million was expected to come from private sources.
Early into the pandemic DCAC instituted a spending freeze and shortly thereafter reviewed the budget for
areas where cuts could be made to lower our monthly expenses while not impacting our direct services.
Through these conservative measures we were able to keep 100% of our staff (outside of natural turnover)
and end the year in the black, but more importantly we never closed our doors to clients. When budgeting
for the 2021 fiscal year, (October 1, 2020), DCAC leadership was increasingly conservative while
maintaining the integrity of our programs. The board approved a budget of about $10.5 million, of which
$4 million was expected to come from private sources. Although in line with what was raised in fiscal year
2020, the future was still uncertain due to the pandemic. As the year went on DCAC made the difficult,
but necessary, decision to cancel our annual luncheon, Appetite for Advocacy, to ensure the safety of our
guests. Appetite is responsible for generating $300,000 in unrestricted operating dollars annually.
Additionally, we pushed our other two signature events, Aim for Advocacy and Art for Advocacy to September
2021, stacking two events responsible for close to $1,000,000 in revenue to the final month of our fiscal year.
Annually, special events generate over $1,400,000 for the agency. For the past two years, we have had to
cancel our luncheon; with an uncertain future, we must plan to identify additional private funds from
alternative avenues.

As we look to the 2022 fiscal year and the goals we’ve set for the organization, we must reincorporate
items previously removed or shaved from the budget. In FY21, DCAC staff members did not receive a merit
increase, yet they remained dedicated to the clients we serve and fulfilling DCAC’s mission. With more
and more opportunities for staff members to look for employment outside of DCAC, we believe that it is
essential that we do all we can to retain our staff. Said simply, our people are our programs, and we must
invest in them. Additionally, in March 2021, we conducted our annual climate survey. During the survey,
staff members voiced concern for the lack of support of DCAC in the professional development area. DCAC
added this back to the budget as this cost aids staff in receiving the training they need to remain current
with cutting edge research and best practices; for clinicians, professional development helps to cover
testing and certification required in leaning new mental health modalities to best serve trauma victims.

But there are still several unknowns surrounding the pandemic’s long-term impact, both related to plans
for events-based fundraising and donor fatigue given the enormous demand on organizations here in
North Texas over the last year. We also know some of our government funding may be altered. VOCA
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(Victims of Crime Act funding) is one of our largest public funders, contributing approximately $3.2 million
annually to DCAC. We expect a decrease of $268,000 from that pot which will need to be raised in private
revenue. We continue to be optimistic about the future of fundraising, but we also are prepared for
challenges and a change in our traditional schedule of events.
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  Abuse Thrives in Secrecy
DCAC coordinates the investigation and prosecution
of the most severe cases of child abuse in Dallas
County and provides evidence-based therapy and
healing services to help families overcome the
trauma of abuse.

                   During the COVID-19 shelter-in-place
                   orders in the spring, child abuse
                   reports were down 43% across North
                   Texas but have returned to average                                          92%                                          73%
                   levels with children in school.                                           of children know                           of sexually abused
                                                                                                their abuser                             children won't tell
                   A report of abuse is made every
                   20 minutes in Dallas County.




                               8,068                                                       CHILDREN
                                                                                           and their non-offending family
                                                                                           members were served at DCAC
                                                                                           Fiscal Year 2020 (October 1, 2019 - September 30, 2020)



      A Seamless Team - Clients Receiving Services by Program


 7,886                                      1,921                                        7,431                                   2,498
 MDT Case Coordination                   Forensic Interviews of children            Family Advocates remove                     The Mental Health Team provides
includes reading 26,142 reports          making an outcry of abuse or who           barriers between families and               trauma-focused, evidence-based
of abuse and communicating               have witnessed a violent crime             recovery from trauma. This can              therapy to children and their
with DCAC's Partner agencies to          gather pertinent information for           take the form of practical                  protective caregivers. Delivering
coordinate the cases that rise to        law enforcement and CPS                    assistance for families in crisis,          services to both children and their
the level of a criminal offense.         investigators in a neutral, non-           helping caregivers navigate the             families ensures that a child
                                         leading, and developmentally               criminal justice system, providing          receives healing not just at DCAC,
                                         sensitive manner.                          children's programming for                  but also at home.
                                                                                    siblings and more.


Education is Prevention                                                                    We Can't Do It Alone
    92,794
                                      DCAC's National Training Center                                        90 cents of every $1 raised goes
                                      educated over 92,000 parents, community                                directly to the investigative and healing
                                      members and professionals working with                                 services DCAC provides free of charge.
                                      children on how to recognize and report
                                      child abuse.

                                                                                                             11,630 volunteer hours were spent at


                        6,960 ATTENDEES
                                                                                                             DCAC last year, even during the
                                                                                                             pandemic. Volunteers are key to our
                                                                                                             services, CACC and the Save Jane
                        Our Crimes Against Children Conference is the number one                             Society.
                        training source for professionals in the field of child abuse.
                                                                                                Find out more at DCAC.ORG | @DallasCAC
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CLIENT JOURNEY
                        1          An Outcry or a Report of Abuse
                                   Every child abuse case reported in Dallas County to the Department of
                                   Family and Protective Services is also read by DCAC. This ensures that
                                   no child falls through the cracks.



                                   MDT Case Coordination
                        2          DCAC coordinates a multi-disciplinary team (MDT) approach by facilitating
                                   a comprehensive, coordinated approach that not only results in more
                                   successful investigation and prosecution outcomes, but also provides a
                                   better and less traumatic response to the child victims and their families.




                                   Forensic Interview
                         3         A DCAC Forensic Interviewer will conduct a specialized investigative interview
                                   to gather information in a neutral, non-leading, developmentally sensitive, and
                                   legally defensible manner. Investigators from law enforcement and DFPS observe
                                   the interview which is recorded and then submitted to the DA's office as evidence.




                            4      Family Advocates
                                   As a case goes through the investigation, prosecution and healing process,
                                   FAs help the family understand the process, learn about their rights and
                                   successfully access resources that will help their family during crisis.
                                   This support is provided throughout the life of the case.




                                   Therapy & Graduation
                                   Our Clinical Services team consists of masters and doctoral level therapists and
                            5      clinical social workers who provide evidence-based, trauma-informed therapy.
                                   Because the trauma of abuse affects the whole family, our services are provided at no
                                   cost to each child and their non-offending family members. Therapy starts as soon as
                                   possible and typically lasts three months; there is no time-limit on therapy services and
                                   a child and their family members can receive services as long as necessary.
                                   DCAC Staff and Partners celebrate a client's graduation from therapy programs.




                                   Court & Long-Term Case Management
                                   Should the case go to court, our staff serve as expert witnesses and help
                            6      prepare the family for court. After the trial, a family advocate continues to
                                   follow-up to ensure ongoing safety is in place. DCAC clients can return for
                                   services at any time at no cost.


                 Visit www.dcac.org to learn
                                dcac.org      more and get involved.
                                         | @dallascac
